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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHER DISTRICT OF TEXAS
                           FORT WORTH DIVISION

Mitchell Ryan


                                  Plaintiff,


v.


Grapevine-Colleyville Independent School             VERIFIED COMPLAINT
District and Jorge Rodriguez in his official
                                                     Civil Action No. 4:21-cv-1075
capacity as GCISD School Board President


                               Defendants.




Plaintiff Mitchell Ryan (“Mr. Ryan”) brings this civil action against Defendants

Grapevine-Colleyville Independent School District (“GCISD”) and Jose Rodriguez

(“President Rodriguez”) in his official capacity as GCISD School Board President, for

nominal damages, actual damages, and injunctive relief and allege as follows:

                                      Introduction

       1.     This action seeks nominal damages, actual damages, and injunctive relief to

remedy unconstitutional restrictions of Mr. Ryan’s rights protected under the First

Amendment.

       2.     Mitchell Ryan is a resident of GCISD. He is vocal regarding the issue of

critical theory in GCISD schools generally, and specifically regarding the efforts of

GCISD Colleyville Heritage High School Principal James Whitfield’s efforts to promote

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critical theory. Non-renewal of Principal Whitfield’s contract for the 2022 school year is

currently under consideration by GCISD. Accordingly, discussion of Whitfield’s efforts is

expected to be a subject on which Mr. Ryan and others can reasonably expect to desire to

share their opinions with the board in the near future.

       3.     The GCISD school board maintains an open public forum at its meetings for

citizens, like Mr. Ryan, to address the board. However, despite this generally open forum,

GCISD has adopted and published an official policy (hereinafter the “Speech Content

Policy”) prohibiting citizens from identifying district employees and other persons, such

as Principal Whitfield, by name during their comments offered during the open public

forum. GCISD School Board President Jorge Rodriguez enforced the policy against Mr.

Ryan at the board’s August 23, 2021 meeting and prohibited Mr. Ryan from delivering

comments regarding Principal Whitfield. President Rodriguez is expected to enforce the

policy again at the board’s future meetings in ways that will further silence Mr. Ryan’s

speech.

       4.     Aside from the official Speech Content Policy, Principal Rodriguez has also

admitted to enforcing an unwritten, unofficial policy (hereinafter the “Ad Hoc Viewpoint

Policy”) prohibiting complaints against district employees. Pursuant to his Ad Hoc

Viewpoint Policy, President Rodriguez has engaged in viewpoint discrimination by

prohibiting comments from Mr. Ryan that are critical of Principal Whitfield, while

allowing comments by other speakers praising Principal Whitfield.




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        5.    The enforcement of the Speech Content Policy and the Ad Hoc Viewpoint

Policy is causing an ongoing, irreparable injury to Plaintiff under the First Amendment to

the United States Constitution that this Court must remedy.

                                   Jurisdiction and Venue

        6.    This action arises under the First and Fourteenth Amendments to the

United States Constitution and is brought pursuant to 42 U.S.C. § 1983.

        7.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1343.

        8.    Venue is proper in this district under 28 U.S.C. § 1391(b)(1) because the

Defendants reside in this district and a substantial part of the events giving rise to this

claim occurred in this district.

                                          Parties

        9.    Plaintiff Mitchell Ryan is an individual who resides in Tarrant County,

Texas. He is a resident and taxpayer of GCISD who regularly attends GCISD board

meetings and comments during the open public forum portion of the meetings.

        10.   Defendant Grapevine-Colleyville Independent School District is an

independent school district located in Tarrant County.

        11.   Defendant Jorge Rodriguez is GCISD School Board President. Under the

Board’s policies, President Rodriguez is charged with presiding over GCISD board

meetings and enforcing the board’s policies with regard to the open public forum portion

of the meeting. He is sued in his official capacity as GCISD School Board President.



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       12.    Defendants have been, at all relevant times to this suit, acting under color

of state law in taking the actions complained of herein.

                                  Statement of Facts

       13.    Grapevine-Colleyville Independent School District allows 30 minutes for

citizens to address the board at its meetings during an open public forum. Citizens are

allowed to address the board for no less than one minute.

       14.    While citizens are generally unrestricted in the issues they may bring to the

board’s attention during the open public forum portion of the meeting, the board has

published an official policy restricting citizens from mentioning names of district staff

members (the “Speech Content Policy”). The Speech Content Policy specifically states:

              Attacks of a personal nature against Board members, GCISD
              staff, students or other citizens will not be allowed or
              tolerated. Speakers must refrain from mentioning specific
              names of staff members during their comments.1

       15.    Mr. Ryan attended the board’s August 23, 2021, meeting and attempted to

comment regarding Principal James Whitfield, principal of GCISD’s Colleyville Heritage

High School. During his comments, Mr. Ryan was interrupted repeatedly by GCISD

School Board President Jorge Rodriguez and disallowed from continuing his comments

regarding Principal Whitfield.




1
 GCISD Board Meeting Decorum, Grapevine Colleyville Independent School District,
https://www.gcisd.net/news/what_s_new/gcisd_board_meeting_decorum (last visited
September 20, 2021).


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         16.   In addition to applying the Speech Content Policy against Mr. Ryan,

President Rodriguez also engaged in viewpoint discrimination against Mr. Ryan by

applying an unpublished Ad Hoc Viewpoint Policy against his speech. This is evidenced

by President Rodriguez’s decision to allow a woman to mention Principal Whitfield’s

name three times while offering comments favorable to Principal Whitfield at the August

meeting.

         17.   In a comment on Facebook, President Rodriguez explained the bounds of his

Ad Hoc Viewpoint Policy, how it differs and conflicts with the clear text of the Speech

Content Policy, and how he had applied it against Mr. Ryan while allowing another

woman to speak in apparent violation of the Speech Content Policy. President Rodriguez

wrote:

               [M]entioning a name is not against the rules. Making a
               complaint about an individual by name or title is. I had to wait
               until he made a complaint to stop him. The same applies to the
               lady that mentioned the name of the principal three times. She
               was expressing support, and that was within the rules. I will
               explain this again before the next Open Forum. Fortunately
               62 out of 63 speakers played by the rules.

         18.   Until he made this confession in his online comments it had appeared to Mr.

Ryan that President Rodriguez was enforcing the Speech Content Policy in cutting off his

comments during the August meeting. However, it appears that Principal Rodriguez

instead intends to enforce his Ad Hoc Viewpoint Policy at upcoming meetings.

         19.   Mr. Ryan intends to attend the scheduled September 27, 2021, GCISD

board meeting, along with other future board meetings, and to address the board


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regarding Principal Whitfield again. He expects, however, that his comments will again

be cut off by President Rodriguez through President Rodriguez’s enforcement of either

the Speech Content Policy or the Ad Hoc Viewpoint Policy.

       20.    Because of the adoption of the Speech Content Policy and its enforcement

by President Rodriguez as well as his enforcement of his Ad Hoc Viewpoint Policy, Mr.

Ryan has been and will be prohibited from addressing the board regarding Principal

Whitfield’s efforts to promote critical theory at Colleyville Heritage High School.

       21.    A long and unbroken line of cases have established that “[t]he loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). When First Amendment

rights are burdened, there is a presumption of irreparable harm. Cmty. Communications v.

City of Boulder, 660 F.2d 1370, 1376 (10th Cir. 1981).

       22.    Mr. Ryan has already suffered an irreparable injury at the August meeting

and will suffer an irreparable injury at upcoming meetings absent court intervention.

                                       Count I
                             42 U.S.C. §§ 1983, 1988
                         Violation of the First Amendment

       23.    Mr. Ryan repeats and re-alleges each of the foregoing allegations in this

Verified Complaint.

       24.    The First Amendment provides that “Congress shall make no law . . .

abridging the freedom of speech, or of the press.” U.S. CONST. amend. I. “[T]he First

Amendment is applicable to the States through the Fourteenth [Amendment.]” First Nat’l

Bank of Boston v. Bellotti, 435 U.S. 765, 778 (1978).

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       25.    “In the First Amendment context,” the Supreme Court “recognizes ‘a . . .

type of facial challenge,’ whereby a law may be invalidated as overbroad if ‘a substantial

number of its applications are unconstitutional, judged in relation to the statute’s plainly

legitimate sweep.’” U.S. v. Stevens, 559 U.S. 460, 473 (2010), citing Washington State

Grange v. Washington State Republican Party, 552 U.S. 442, 449 n.6 (2008) (emphasis

added).

       26.    Here the Speech Content Policy “creates a [] prohibition of alarming

breadth.” Stevens, 559 U.S. at 474. The policy attempts to prohibit certain speech

content, most basically the mentioning of employee names, but also “attacks of a

personal nature” against employees, GCISD board members themselves, as well as others

in the community. Lacking a definition of “attacks of a personal nature,” this prohibition

sweeps broadly to prohibit any speech regarding any person that the Board President finds

objectionable.

       27.    The prohibition against Mr. Ryan speaking on certain topics to the board,

including the names of district officials, is a content-based speech restriction and is

presumptively unconstitutional under the Supreme Court’s precedent in Reed v. Town of

Gilbert, 576 U.S. 155 (2015). There are no legitimate applications of the policy, the

policy’s sweep is plainly illegitimate, and therefore a facial challenge is appropriate. The

policy is also unconstitutional as applied to Mr. Ryan in that it is currently being used to

suppress his speech on a topic of great concern to him and to the community.

       28.    Moreover, President Rodriguez’s Ad Hoc Viewpoint Policy prohibiting

criticism, but not praise, of district employees is an example of viewpoint discrimination.

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Viewpoint discrimination is “a more blatant and egregious form of content

discrimination.” Id. at 168. Disallowing Mr. Ryan’s critical comments while refusing to

enforce the Speech Content Policy against speakers who speak in favor of district

employees further Violates Mr. Ryan’s right to free speech under the First Amendment, as

applied to the states through the Fourteenth Amendment.

       29.    Defendants have no compelling interest in prohibiting citizens from

including the names of district employees in the content of their speech during the open

public forum portion of GCISD meetings or otherwise in restricting the content of

citizens’ speech in any way during that portion of the meeting.

       30.    Defendants have imposed unconstitutional content-based and viewpoint-

motivated speech restrictions while acting under color of state law. As a direct and

proximate consequence of the Defendants’ actions, Mr. Ryan has suffered an injury and is

entitled to nominal and compensatory damages. Moreover, Mr. Ryan’s injury is an

irreparable injury for which there is no adequate remedy at law. If the Speech Content

Policy and Ad Hoc Viewpoint Policy continue to be enforced at GCISD board meetings,

Mr. Ryan will continue to suffer an irreparable injury at each meeting where he is

prohibited from voicing his concerns about district employees. Mr. Ryan is entitled to a

preliminary and permanent injunction prohibiting Defendants from enforcing the Speech

Content Policy and Ad Hoc Viewpoint Policy against him.

       31.    Mr. Ryan is entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988.




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                                   Prayer for Relief

      WHEREFORE, Plaintiff Mitchell Ryan respectfully requests this Court enter

judgment in his favor and against Defendants and provide the following relief:

   A. Preliminary and permanent injunctive relief pursuant to 42 U.S.C. § 1983 against

      the enforcement of GCISD’s official policy prohibiting comments during the open

      public forum portion of its meetings that mention the names of district employees

      or that contain “attacks of a personal nature” or its unofficial policy prohibiting

      comments critical of district employees;

   B. Nominal damages;

   C. Compensatory damages;

   D. Mr. Ryan’s reasonable costs and expenses of this action, including attorneys’ fees,

      in accordance with 42 U.S.C. § 1988 and all other applicable laws; and

   E. Any and all other further relief to which Mr. Ryan may be justly entitled.




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                                          Respectfully submitted,

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                                          Dated September 21, 2021




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                                         VERJFI ATIO


    itchell Ryan, declare a follow :

       I. I am the Plaintiff in the present ca e. I am a citizen and resident of Tarrant   ounty

          Texa , and re ide in Grapevine- olleyville Independent       cho I District. I have

          per onal knowledge of my activities, and my intet1tions, including the facts set out in

          the foregoing Complaint and if called on tote tify I would competently te tify as to

          the matters tated therein.

       2. I have personal knowledge of the G 1 D's Speech Content Policy and Pre ident

          Rodriguez's Ad H c Viewpoint Policy and the enforcement of the policie by

          President Rodriguez against me and other . I have personal knowledge of the board's

          August 23, 2021 meeting, and the events that took place on that date at the board

          meeting. l intend to attend the board' September 27 2021 board meeting and peak

          during the open public forum period of the meeting regarding       olleyville Heritage

          High chool Principal James Whitfield. However, I expect to be prohibited from

          making my desired comments absent court intervention.

       3. I verify under penalty of perjury under the laws of the United tales of America that

          the factual tatements in the    omplaint concerning the above-mentioned topic are

          true and correct. 2 U.S. . § 1746.


 Executed on _S_e_p_te_m_b_e_r_2_1_,             2021.
